        Case 2:12-cr-00321-GMN-PAL              Document 87        Filed 02/04/14       Page 1 of 1



 1
 2
 3
 4                                   UNITED STATES DISTRICT COURT
 5                                           DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                                 Plaintiff,  )                    Case No. 2:12-cr-00321-GMN-PAL
                                               )
 9   vs.                                       )                                  ORDER
                                               )
10   DANIEL T. BOWER,                          )                         (Subst Atty - Dkt. #84)
                                               )
11                                 Defendant.  )
     __________________________________________)
12
13          This matter is before the court on a Substitution of Counsel for Defendant Daniel T. Bower
14   (Dkt. #84) filed January 29, 2014. It seeks to substitute Jess R. Marchese, Esq., in place of Ryan
15   Mortier, Esq., as attorney for Defendant Daniel T. Bower in this matter. LR IA 10-6(c) requires that
16   any stipulation to substitute attorneys shall be by leave of court and shall bear the signature of the
17   attorneys and the client represented. It provides that the signature of an attorney to substitute into a case
18   “constitutes an express acceptance of all dates then set for pretrial proceedings, for trial or hearing, by
19   the discovery plan, or in any court order.” LR IA 10-6(d) also provides that the substitution of an
20   attorney “shall not alone be reason for delay of pretrial proceedings, discovery, the trial, or any hearing
21   in this case.” Sentencing in this matter is scheduled for February 7, 2014. Accordingly,
22          IT IS ORDERED:
23          1.      Defendant Daniel T. Bower’s request to substitute Jess R. Marchese Esq., in place of
24                  Ryan Mortier Esq., is GRANTED, subject to the provisions of LR IA 10-6(c) and (d).
25          Dated this 30th day of January, 2014.
26
                                                            ______________________________________
27                                                          Peggy A. Leen
                                                            United States Magistrate Judge
28
